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                         UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

 In re:
                                                       Case No. 21-30589 (JCW)
 LTL Management LLC
                                                       Chapter 11
           Debtor.


                 NOTICE OF APPEARANCE AND REQUEST FOR NOTICE


          PLEASE TAKE NOTICE that pursuant to section 1109(b) of title 11 of the United States Code

(the “Bankruptcy Code”), and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Charles M. Rubio of Parkins Lee & Rubio LLP hereby enters its appearance in the above-captioned

chapter 11 case as counsel to OnderLaw, LLC, and requests that the undersigned be added to the official

mailing matrix and service list in this case. Parkins Lee & Rubio LLP requests, pursuant to Bankruptcy

Rules 2002, 3017 and 9007 and section 1109(b) of the Bankruptcy Code, that copies of all notices and

pleadings given or required to be given in this chapter 11 case and copies of all papers served or required

to be served in this chapter 11 case, including but not limited to, all notices (including those required by

Bankruptcy Rule 2002), reports, pleadings, motions, applications, lists, schedules, statements, chapter 11

plans, disclosure statements and all other matters arising herein or in any related adversary proceeding, be

given and served upon OnderLaw, LLC through service upon Parkins Lee & Rubio at the address,

telephone, and facsimile numbers set forth below:


                                            Charles M. Rubio
                                        Parkins Lee & Rubio LLP
                                              Pennzoil Place
                                       700 Milam Street, Suite 1300
                                          Houston, Texas 77002
                                      Email: crubio@parkinslee.com
                                          Phone: 212-763-3331
                                         Facsimile: 713-715-1699
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        PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the Bankruptcy Code,

the foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules specified

above, but also includes, without limitation, orders and notices of any application, complaint or demand,

motion, petition, pleading or request, and answering or reply papers filed in this case, whether formal or

informal, written or oral, and whether served, transmitted or conveyed by mail, hand delivery, telephone,

telegraph, telex or otherwise filed or made with regard to the above-captioned case and proceedings therein.

        PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for Notice

Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a waiver of any of the rights of

the OnderLaw, LLC, including, without limitation, to (i) have final orders in non-core matters entered only

after de novo review by a higher court, (ii) trial by jury in any proceeding so triable in this case, or any case,

controversy, or adversary proceeding related to this case, (iii) have the reference withdrawn in any matter

subject to mandatory or discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs,

or recoupments to which OnderLaw, LLC may be entitled in law or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments are expressly reserved.



Dated: October 25, 2021



                                                                      Respectfully submitted,

                                                                      PARKINS LEE & RUBIO LLP

                                                                      /s/ Charles M. Rubio
                                                                      Charles M. Rubio P.C.
                                                                      TX Bar No. 24083768
                                                                      Pennzoil Place
                                                                      700 Milam Street, Suite 1300
                                                                      Houston, Texas 77002
                                                                      Email: crubio@parkinslee.com
                                                                      Phone: 212-763-3331

                                                                      Counsel to OnderLaw, LLC
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                                     CERTIFICATE OF SERVICE

        I hereby certify that the foregoing NOTICE has been served electronically via CM/ECF on the

Bankruptcy Administrator and all interested parties.

Dated: October 25, 2021


                                                       /s/ Charles M. Rubio
                                                       Charles M. Rubio
